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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF RHODE ISLAND

 

 

)
UNITED STATES OF AMERICA )
)
Vv. ) Cr. No. 11-125-JJM-PAS
)
ROLANDO A. ROJAS )
Defendant. )
_)
ORDER

Rolando A. Rojas has petitioned this Court under 28 U.S.C. § 3582(¢)(1)(A)G)
for compassionate release. ECF Nos. 91, 95. The government objects. ECF No. 96.

Mr. Rojas seeks release claiming that his risk of getting COVID-19 in prison is
increased! and his risk of getting seriously harmed as a result is increased because
he suffers from chronic or serious medical conditions—specifically Hepatitis C.

Mr. Rojas has not shown this Court extraordinary and compelling reasons for
his early release. First, Hepatitis C “might” create an increased risk of severe illness
if Mr. Rojas were to contract COVID-19 according to the Center for Disease Control
(“CDC”). But Mr. Rojas’ medical records show that his Hepatis C has been resolved
after appropriate treatment. Second, Mr. Rojas tested positive for COVID-19 in
November 2020, was asymptomatic, isolated, and afterward returned to the general
population. ECF No. 96 at 4, 8. According to the CDC, “Cases of reinfection with

COVID-19 have been reported, but remain rare.”

 

1 Mr. Rojas is being held at Allenwood Medium. There are 47 active COVID-
19 cases there now and 224 people have recovered from COVID-19. ECF No. 95 at 2.

 
 

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https://www.cdc.gov/coronavirus/2019-ncov/your-health/reinfection. html.
Because Mr. Rojas has not shown extraordinary or compelling reasons for his
early release, the Court DENIES his Motion for Compassionate Release. ECF Nos.

91, 95.

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John J. McConnell, Jr.
Chief United States District Judge

 

January 11, 2020

 
